       Case 3:16-md-02741-VC Document 19481 Filed 10/08/24 Page 1 of 1




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER DENYING MOTIONS TO
                                                   MOVE CASES TO LATER WAVES
   Parry v. Monsanto Co.,
   Case No. 3:22-cv-03226-VC                       Re: Dkt. Nos. 19215, 19216

   Dennis v. Monsanto Co.,
   Case No. 3:22-cv-03225-VC




       The motions to move the above-captioned cases to later waves are denied. As the Court

has previously said, cases that have been moved from one wave to a later wave at the request of

the parties may only be moved again upon a showing of extraordinary circumstances. Dkt. No.

17234. Although neither motion acknowledges that the cases have already been moved, a review
of the dockets shows that they have. Despite that, neither motion describes any extraordinary

circumstances—they only say that the plaintiffs would like additional time to complete

discovery.

       IT IS SO ORDERED.

Dated: October 8, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
